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                                                    UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF MISSISSIPPI


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